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September 16, 2020

Via EM/ECF Filing

Honorable Kevin N. Fox
United States District Court
Southern District of New York
40 Foley Square, Room 2204
New York, NY 10007
RE: Letter Motion — To Compel Discovery
Jordan et al. v. Slidenjoy et al. Case No. 1:19-cv-11868 (PGG)

Dear Judge Fox:

Plaintiffs Jordan et al. respectfully request by this letter motion that the Court compel defendant
Slidenjoy provide complete and proper responses to Plaintiffs’ Interrogatories (First Set) dated 26 June
2020). Plaintiffs also request the Court compel defendant Slidenjoy to produce necessary documents as
required in Plaintiffs Request for Production of Documents (First Set) dated 26 June 2020.

This letter motion follows Plaintiffs’ receipt of defendant Slidenjoy's responses to Plaintiffs’
Interrogatories and Request for Production of Documents. Slidenjoy's responses included numerous
broad, unsupported, and thus improper, objections, including but not limited to “over broad”, “vague”,
“overly burdensome”, “relates to privileged or confidential information”, “attorney-client privilege”,
and “work-product doctrine”. Plaintiffs, through their counsel, engaged in a Meet and Confer with
defendant Slidenjoy's counsel following receipt of the responses, whereupon Slidenjoy has refused to
sufficiently supplement its responses. Defendant Slidenjoy maintained its objections even in light of
failing to file a motion for protective order in accordance with the Court's instructions of July 21, 2020
(doc. 84). Plaintiffs hereby request a hearing with the Court to resolve these issues, and at least prior to

filing of a Motion to Compel.
Respectfully Submitted,
/RDWY/

Robert DeWittty.

Attorney for Plaintiffs Jordan et al.
